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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   JULIE GOLD, on behalf of herself and other individuals
   similarly situated,
                                      Plaintiffs,                     Case No.

                  against                                             CLASS ACTION COMPLAINT

   UNIVERSITY OF MIAMI; and other affiliated entities
   and individuals,                                                   JURY TRIAL DEMANDED

                                          Defendants.




         Named Plaintiff Julie Gold (hereinafter “Plaintiff”), individually and on behalf of all others

  similarly situated, by her attorneys, alleges the following upon information and belief, except for

  those allegations pertaining to Plaintiff, which are based on personal knowledge.



                                    NATURE OF THE ACTION

         1.      This class action is brought on behalf of Named Plaintiff Julie Gold and those

  similarly situated who paid tuition and fees for the Spring 2020 semester at the University of

  Miami. As a result of Defendants’ response to the Novel Coronavirus Disease 2019 (“COVID-

  19”), Plaintiffs did not receive the benefit and services that they bargained for when they provided

  payment for tuition and fees.

         2.      Plaintiffs and Defendants entered into a contract where Plaintiffs would provide

  payment in the form of tuition and fees and Defendants would provide in-person educational

  services, experiences, opportunities, and other related services.

         3.       On or around March 11, 2020, the University of Miami canceled all in-person



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  education and in-person educational services, then transitioned to complete online education.

         4.      Based on these closures, Defendants have failed to uphold their end of the contract

  to provide in-person educational services, experiences, and opportunities.

         5.      Despite Defendants’ failure to provide the services and experiences as bargained

  for, Defendants have not offered any refund of the tuition and fees that Plaintiff and the Class paid.

                                                FACTS

         6.       Plaintiff and Class Members are individuals that paid tuition and fees for the Spring

  Semester 2020 at the University of Miami.

         7.       Defendants accepted Plaintiff’s and Class Members’ payments in exchange for

  educational services, experiences, and opportunities as detailed in Defendants’ marketing,

  advertisements, and other public representations.

         8.       Based on the academic schedule, the Spring 2020 semester at the University of

  Miami commenced on or around Jan. 13, 2020, and it was scheduled to conclude on or around May

  20, 2020.

         9.       Named Plaintiff Julie Gold’s son was a full-time undergraduate student during

  Spring 2020 semester. The University of Miami charged Plaintiff more than $30,000.00 in tuition

  and fees during the Spring 2020 semester, including $25,200 in undergraduate tuition.

         10.      Named Plaintiff paid the Spring 2020 semester tuition and fee bill such that her

  son was provided with educational experiences, opportunities, and services.

         11.      Plaintiffs paid tuition and fees for in-person educational services, experiences,

  opportunities, and other related collegiate services for the entire period beginning in or around

  January 2020 through May 2020.

         12.      On or around March 11, 2020, the University of Miami announced that because of



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  COVID-19 they would suspend and cancel all in-person classes and college experiences for the

  remainder of the Spring Semester 2020 beginning on or around March 22, 2020 (following Spring

  Break recess) and that all learning would transition to online.

         13.      Defendants were unable to provide in-person educational experiences, services,

  and opportunities for approximately 59% of the Spring 2020 semester.

         14.      Prior to the suspension of in-person classes for the Spring 2020 semester, Plaintiff

  Gold’s son attended campus events and was involved in student activities and/or clubs.

         15.      Additionally, Plaintiff Gold’s son was a part of a program called University of

  Miami Los Angeles which took place in Burbank, California for his major. This was an in-person

  activity which included an additional fee for abroad room, board, and learning that was also not

  refunded to Plaintiff.

         16.      As a result of Defendants’ closure, Defendants have not complied with their

  obligation to provide in-person educational services along with other experiences, opportunities,

  and services Plaintiff and the Class paid for.

         17.      Plaintiff and the Class did not enter into an agreement with Defendants for online

  education, but rather sought to receive in-person education from Defendants’ institution.

         18.      Therefore, Plaintiff and Class Members are entitled to a pro-rata refund of the

  tuition and fees they paid to Defendants for in-person educational services as well as other

  marketed collegiate experiences and services that were not provided.



                                   JURISDICTION AND VENUE

          33.     This Court has jurisdiction over the action pursuant to 28 U.S.C. §

   1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one



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   member of the Class, as defined below, is a citizen of a different state than Defendants, there

   are more than 100 members of the Class, and the aggregate amount in controversy exceeds

   $5,000,000 exclusive of interest and costs.

          34.     This court has personal jurisdiction over Defendants because Defendants

   maintains its principal place of business in this District.

          35.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendants’

   operate their primary campus within this district.



                                         PARTIES

         36.     Named Plaintiff Julie Gold’s son is a student and a resident of Old Westbury, New

  York. Plaintiff’s son was enrolled as a full-time undergraduate student at the University of Miami

  during the Spring 2020 semester. Plaintiff graduated at the conclusion of the semester. Plaintiff

  has not received any refund for tuition and fees paid to Defendants, despite the fact that the

  University has been shut down since on or about March 11, 2020.

         37.     Defendant University of Miami is a private institution and entity whose principal

  place of business is located in Miami, Florida.



                                        CLASS ALLEGATIONS

          38.     Plaintiff brings this matter on behalf of herself and those similarly situated. As

   detailed in this Complaint, Defendants failed to provide the in-person education services the

   Plaintiffs paid tuition and fees to receive during the Spring Semester 2020.

          39.     Plaintiffs were impacted by and damaged by this misconduct.

          40.     Accordingly, this action is ideally situated for class-wide resolution.



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          41.     The Class is defined as all individuals who paid tuition and fees to the

   University of Miami to receive in-person educational services, experiences, and opportunities

   during the Spring Semester 2020. (“Class”).

          42.     The Class is properly brought and should be maintained as a class action under

   FRCP 23 satisfying the class action prerequisites of numerosity, commonality, typicality, and

   adequacy because:

          43.     Numerosity: Class Members are so numerous that joinder of all members is

   impracticable. Plaintiff believes that there are thousands of individuals who are Class

   Members described above who have been damaged by Defendants breach of contract.

          44.     Commonality: The questions of law and fact common to the Class Members

   which predominate over any questions which may affect individual Class Members include,

   but are not limited to:

                  a. Whether Defendants accepted money from Plaintiff and Class Members
                     in exchange for a promise to provide services;
                  b. Whether Defendants provided those services as bargained for;
                  c. Whether Plaintiff and the Class Members are entitled to a pro-rata portion
                     of the tuition and fees paid for services that were not provided.;
                  d. Whether Defendants were unjustly enriched;
                  e. Whether Defendants converted money from the Plaintiff and Class
                     Members.

         45.     Typicality: Plaintiff is a member of the Class. Plaintiff’s claims are typical of the

  claims of each Class Member in that every member of the Class was subject to Defendants breach

  of contract, unjust enrichment and conversion. Plaintiff is entitled to relief under the same causes

  of action as the other Class Members.

         46.     Adequacy: Plaintiff is an adequate Class representative because her interests do not

  conflict with the interests of the Class Members she seeks to represent; her claims are common to

  all members of the Class, and she has a strong interest in vindicating her rights; she has retained


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  counsel competent and experienced in complex class action litigation and they intend to vigorously

  prosecute this action. Plaintiff has no interests which conflict with those of the Class. The Class

  Members’ interests will be fairly and adequately protected by Plaintiff and her counsel. Defendants

  have acted in a manner generally applicable to the Class, making relief appropriate with respect to

  Plaintiff and the Class Members. The prosecution of separate actions by individual Class Members

  would create a risk of inconsistent and varying adjudications.

         47.      The Class is properly brought and should be maintained as a class action under

  FRCP 23 because a class action is superior to traditional litigation of this controversy. Common

  issues of law and fact predominate over any other questions affecting only individual members of

  the Class. The Class issues fully predominate over any individual issue because no inquiry into

  individual conduct is necessary; all that is required is a narrow focus on Defendants’ deceptive and

  misleading practices.

          48.       In addition, this Class is superior to other methods for fair and efficient

   adjudication of this controversy because, inter alia:

          49.      Superiority: A class action is superior to the other available methods for the

   fair and efficient adjudication of this controversy because:

                a. The joinder of thousands of individual Class Members is impracticable,
                   cumbersome, unduly burdensome, and a waste of judicial and/or
                   litigation resources;
                b. The individual claims of the Class Members may be relatively modest
                   compared with the expense of litigating the claim, thereby making it
                   impracticable, unduly burdensome, and expensive-if not totally impossible-to
                   justify individual actions;
                c. When Defendants’ liability has been adjudicated, all Class Members' claims can
                   be determined by the Class and administered efficiently in a manner far less
                   burdensome and expensive than if it were attempted through filing, discovery,
                   and trial of all individual cases;
                d. This class action will promote orderly, efficient, expeditious, and
                   appropriate adjudication and administration of Class claims;
                e. Plaintiff knows of no difficulty to be encountered in the management of


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                      this action that would preclude its maintenance as a class action;
                f.    This class action will assure uniformity of decisions among Class Members;
                g.    The Class is readily definable and prosecution of this action as a class action
                      will eliminate the possibility of repetitious litigation;
                h.    Class Members’ interests in individually controlling the prosecution of
                      separate actions are outweighed by their interest in efficient resolution by
                      single class action; and
                i.    It would be desirable to concentrate in this single venue the litigation of all
                      plaintiffs who were induced by Defendants’ deceptive and discriminatory
                      consumer practices.

          50.         Accordingly, this Class is properly brought and should be maintained as a class

   action under FRCP 23 because questions of law or fact common to Class Members predominate

   over any questions affecting only individual members, and because a class action is superior to

   other available methods for fairly and efficiently adjudicating this controversy.

          51.         Plaintiff and the Class can maintain this action as a class action under FRCP

   23(b)(1), (2), and (3).



                                    FIRST CAUSE OF ACTION
                                     BREACH OF CONTRACT
                             (On Behalf of Plaintiff and All Class Members)

         52.         Plaintiff, on behalf of herself and other members of the class, brings a common law

  claim for Breach of Contract.

         53.         By accepting payment, Defendants entered into contractual arrangements with

  Plaintiff and Class Members to provide educational services, experiences, opportunities, and

  related services for the Spring Semester 2020.

         54.         Plaintiff and Class Members’ payment of tuition and fees were intended to cover

  in-person education, experiences, and services from January through May 2020.

         55.         Defendants received and retained the benefits without providing those benefits to

  Plaintiff and Class Members.


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         56.     As a direct and proximate result of Defendants’ breach of contract, Plaintiff and

  Class Members have been harmed by not receiving the educational experiences, opportunities, and

  services they paid for during the Spring Semester 2020.

         57.     Defendants are required to perform under the contract and COVID-19 does not

  excuse such performance. Therefore, Defendants should be required to return pro-rata shares of

  the tuition and fees paid by Plaintiff and Class Members that related to services that were not

  provided for after the University of Miami shut down on or around March 11, 2020.



                               SECOND CAUSE OF ACTION
                                        CONVERSION
                         (On Behalf of Plaintiff and All Class Members)

         58.     Plaintiff, on behalf of herself and other members of the Class, brings a common

  law claim for Conversion.

         59.     Plaintiff and Class Members have an ownership right to the in-person educational

  services based on their payment of tuition and fees for the Spring Semester 2020.

         60.     Defendants intentionally interfered with Plaintiff and the Class Members

  ownership right when they canceled in-person instructions for the remainder of the Spring

  Semester 2020.

         61.     Plaintiff and the Class Members were damaged by Defendants’ interference as they

  paid for educational, experience, and services for the entirety of the Spring Semester 2020 which

  were not provided.

         62.     Plaintiff and the Class Members are entitled to a pro-rata share of the tuition and

  fees they paid for but were not provided resulting from Defendants’ interference.




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                                 THIRD CAUSE OF ACTION
                         COMMON LAW UNJUST ENRICHMENT
                (On Behalf of Plaintiff and All Class Members in the Alternative)

         63.     Plaintiff, on behalf of herself and other members of the class, brings a common law

  claim for unjust enrichment.

         64.     Plaintiff and Class Members conferred financial benefits and paid substantial

  tuition and fees to Defendants for educational and related services for the Spring Semester 2020.

  As bargained for these tuition and fee payments were intended to cover in-person education

  throughout the entire Spring Semester 2020 of January through May 2020.

         65.     Defendants accepted the obligation to provide such services when they accepted

  payment.

         66.     Defendants retained these payments, despite Defendants’ failing to provide the

  bargained for educational, experiences, and services for which the tuition and fees were collected

  to cover. Defendants should be required to return a pro-rate share of any Spring Semester 2020

  tuition and fees, of which services were not provided as bargained for, since the University of

  Miami shut down on or around March 11, 2020.

         67.     Under common law principles of unjust enrichment, it is inequitable for Defendants

  to retain the benefits conferred by Plaintiff’s and Class Members’ overpayments.

         68.     Plaintiff and Class Members seek disgorgement of all profits resulting from such

  overpayments and establishment of a constructive trust from which Plaintiff and Class Members

  may seek restitution.

                                     DEMANDS FOR RELIEF

         69.     Plaintiff demands a trial by jury on all issues.




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   WHEREFORE, Plaintiff, on behalf of herself and the Class, pray for judgment as follows:

         (a)     Declaring this action to be a proper class action and certifying

                 Plaintiff as the representative of the Class under FRCP 23;

         (b)     Awarding monetary damages, including damages;

         (c)     Awarding punitive and treble damages;

         (d)     Awarding Plaintiff and Class Members their costs and expenses incurred in this

                 action, including a reasonable allowance of attorney’s fees for Plaintiff’s

                 attorneys and experts, and reimbursement of Plaintiff’s expenses; and

         (f)     Granting such other and further relief as the Court may deem just and proper.



                                               JURY DEMAND

         Plaintiff requests a trial by jury.




  Dated: June 03, 2020                          Respectfully submitted,

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